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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

In Re:                                              )      Case No. 18-10407
                                                    )
MAJESTIC RETAINING WALLS, LC,                       )      Chapter 7
                                                    )
                       Debtor.                      )

                                     MEMO FOR CLERK

         The address for creditor Derek Cornelius, c/o Kevin O’Shea has changed. Please send all

correspondence to the following address:


Derek Cornelius
c/o Kevin O’Shea
1744 Ridge Rd.
Jackson, MO 63755-1603


                                             Respectfully submitted,

                                             THE LIMBAUGH FIRM
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                                             Cape Girardeau, MO 63702-1150
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                                             By /s/ J. Michael Payne________________
                                                J. Michael Payne #28733MO

                                             ATTORNEYS FOR DEBTOR
